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Case

Elam, rashaan, l
C/O 1004 North
Apartment 5
Car|is|e, Pennsy
(ZlP exempt pec
717-614-7786

COMMONWE}
FICTITI()US F<
FORE|GN COR
v.

RASHAAN ME

Defendant in Er'

:elam, rashaan,

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1echelle, sui juris

\ vest Street

Ivania
)MM 602. l.3e.2)

’ORAT| ON;

(`HELLE ELAM

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non-corporate en ity(s)

V.

COMMONWE

FlCTlTlOUS F

FORE|GN COR

PORATION;

LTH OF PENNSYLVANIA » A

RE|GN STATE; AND A FICT|TlOUS

\L'l`H OF PENNSYLVAN{A A

]REIGN STA"|E; AND A FlCTlTlOUS

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(tracking number for mailed copy)

lN THE FEDERAL DlSTRICT COURT F()R

THE MlDDLE DlSTRlCT OF PENNSYLVAN|A

COMM()NWEALTH OF()R REPUBLIC OF:
ClVIL ACTlON

Case No.:

NOT[CE AND DEMAND:

OF .|URISDICT[ON

 

 

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Constitution of

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To all concerned:
Re: Case No. MJ-O()ZOI-CR-()OOOO}()-ZO!S

REBUTTAL ()F VERIF[ED COMPLAINT

AND
PROOFS OF CLAIMS

R€: Judge PAUL M. FEGLEY.
Re: ESQUIRE M. L. EBERTJR.

DISQUALIFICATION OF JUDGE PAUL M. FEGLEY

PER

HARR

WR|T ()F ERROR CORAM NOB|S
DEMAND FOR DlSMlSSAL
[OR REVERSA|,,] FOR l,ACK

FILE

A"R 23 2018

ISBURE

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DEPUTY CLERK

)nes :e|am, rashaan, meche|le; COMPLA}NANT and pursuant to Article Vl clause 2 ofthe organic
kese united states of America as per the Supremacy Clause.

PR CORAM NOBIS DEMAND FOR DlSMlSSAL] - l

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Affiant has not seen or been presented with any documentation verifying that i have voluntarily,
knowingly and intentionally, entered into a contract with any civil court, to perform to your demands;
and believe that no such verified documentation exists;

Affiant has not seen or been presented with documentation verifying that all the terms of the contract
were disclosed in the document, and believes that no such verified documentation exists;

AFFIDAVIT O F VAl,JlDA"l`l()N

i HEREBY ALSO DEMAND TO RECEIVE THE FOLLOWING PROOF OF CLAIMS ANSWERED.

Please respond in affidavit of validation ()R VERIFICATION OF CLAIM form under your full and
complete commercial, corporate and personal liability that you have the proofs of your claims.

l. Proof of Claim: That you had the authority under the constitution as per your oath of office, to
COMPLETELY deny and dismiss “ALL" my affidavits, evidences, documents_ papers. jurisdictional and
constitutional demands and challenges and all others forms or claims, as per your ownjudicial
determination signed by you on January 28, 20|8.

2. Proof` of Cl im: That by completely stripping, eliminating, and suppressing ALL my claims, proofs
documents an demands and leaving me naked BEFORE THE COURT, with out any evidence in support
ofmy case is T a violation of my constitutional rights and liberties

 

3. ProofofCl in: That the law allows judges to be handed a document by any Esquire, WITHOUT YOU
EVEN READ G lT AND SIGNING, denying and dismissing all MY motions, all affidavits, all papers,
all documents all jurisdictional and constitutional demands, and ALL OTHER GROUNDS, as per the
document you t igned

4. ProofofClaim: That plaintiffs do not have to prove their claims as the moving party in their verified
complaint

5. Proof ofClaim: That defendant has to prove the claims ofthe plaintiffs’ as per yourjudicial
determination and demands.

6. ProofofClaim: That i as a defendant in error, have to answer by law a verified complaint against
another verified complaint from the Plaintiff who is the moving party that refuses to answer my Affidavit
of rebuttal oftheir verified complaint

7. ProofofClaim: That defendant has received a certified copy with proof of return receipt ofthe new
amended verified complaint to respond to, in the time frame demanded.

8. Proof of Cl n: That this civil court has a verifiable contract signed by me before trial, giving the court
completejuris ction over a non-corporate living man.

9. Proof of Cl m: That any Barrister and/or Solicitor or person from any foreign country, without having
to be here in t U.S.A., can file a long-distance verified complaint from inside Canada and does not have
to be here tot t tify at court in any trial.

[WRlT OF E R CORAM NOBIS DEMAND FOR DlSMlSSAL] - 2

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10. Proof of C|aim: That asjudge that you have subject matterjurisdictional authority in an Artic|e l
court.

1 l. 1’roof ofClaim: That asjudge that you have subject matterjurisdictional authority in an Article 3
court.

12. Proof of C|aim: That as judge that you have subject matter jurisdictional authority in an Article 4
court.

13. Proof of C|aim: That as stated by you that you are a judge presiding in an ARTICLE 5 COURT.

14. Proof of C|aim: That you asjudge, that you will/do not have to protect my Constitutional
liberties/rights as per your oath of ofiice.

15. Proof of C|aim: That the MD.l 09-2-01 is not a private corporation ,even thought Dun and Bradstreet
D-U-N-S numbers were supplied and entered into the court record and sent to plaintiffs, that the court
listed themselves as a PRlVATE corporation

l(). l)roofofClaim: That the COMMONWEALTH OF PENNSYLVANIA is not a private corporation and
that the causes of actions are not in REM against defendant

Proof`ofclaim: That you and the court, corporation, dept etc. has giving me full and complete disclosure
over any and all contracts or over anything and everything claimed

l7. Proof of C|aim: That you have complete authority over this Sovereign non~corporate living man
within the country.

18. Proof of C|aim: That you have complete authority over this living man upon the land.
19. Proof of C|aim: That you are not a registered member ofthe Bar Association.

2(). Proof of C|aim: That the American Bar Association is not a foreign lnternational Private organization.
which makes Bar members foreign agents in a foreign state, under the Foreign sovereign immunities act

(FSIA).

21. Proof ofClaim: That in accordance to Title 26, Sec. 6305, Upon certification from the Secretary, the
Commissioner shall collect the obligation as though it were a tax. lt means they are collecting an
insurance premium. Everything is insurance under contributions

22. ProofofClaim: That CA'l`RONA 297 l’ed.Supp. p. 827, 1924 District Court decision. ln admiralty,
they fictionalizc the vessel; they make the vessel ajuristic person. Public Vessels Act, 1925 ~ they
fictionalized the vessels. ln 192().

they passed the Suits in Admiralty Act, where the US waived judicial and sovereign immunity and they
consented to be sued. ln Admiralty, that is where your article 3 court is. That is where your common law
is. Under the Admiralty. Every state case should be moved under Title 28, Sec. 1446 - Move to Federal
court as a Federal Question under the constitution, Art. 3, Sec. 2 gives the District Court original

jurisdiction ofa|l Admiralty Maritime claims.

23. ProofofClaim: That the Judge has a Specia| commission is required in “Prize proceedings”, which is
[WRlT OF E R CORAM NOBIS DEMAND FOR DlSMlSSAL] - 3

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a “Letter of Marquis” and they are still being issued. “Do you have a Letter of Marquis under the King’s
Bench, which is a special commission to collect revenue”

24. Proof ofClaim: That i am a ward of the court under Admiralty. Go read Garrett vs. McCormick, 1943
decision lt is a cestui que trust ~ He who has a right to a beneficial interest in and out of an estate the
legal title to which is vested in another. The person who possesses the equitable right to property and
receives the rents, issues, and profits thereof; the legal estate of which is vested in a trustee. Beneficiary
oftrust. Black’s 5th, p. 208.

25: Proof of C|aim: That Claimant is not a special intervener in accordance to Federal Rules of Civil
Procedure Rule 24a 1924 New York Federal District Court two page decision as to how to proceed in
Admiralty

26. Proofof C|aim: That ln Admiralty, you have a Plaintiff, a Defendant, and an lntervener. You are trying
to come in as an lntervener because that is the only way you can win in Admiralty without giving the
court jurisdiction and venue. Once you give them Venue, you are the Debtor. You have subrogated
yourself The word “Subrogation” means substitution. You have substituted yourself for the Debtor/
Defendant under the bankruptcy laws, Title 1 l, Section 109 and the fourth section of the fourteenth
amendment, which says that no citizen or resident ofthe United States can challenge the validity ofthe
public and national debt.

27: Proof of C|aim: That thejudge has a Letter of Marquis under title 10 USC section 7355

28. Proof of Claim; That in the case of Walter Cox, a real Supreme Court .lustice, wrote a historical
review. The three commissioners that did the Revised Statutes of 1873 and 1874 did so without any
authority whatever. Thomas .lefferson Durant did the third revision` which was never approved by the
Congress or the Senate. '1`he President signed it into law. That is what your Title 1-50 is. "l`itle 26 is l)e
Facto laaw. What they did was illegal. None ofthese codes are legal and this is where your insurrection
and rebellion acts came from that are in Title 50, sec. 212-213. You cannot bring Maritime law inland.
Read 'l`itle 18, sec. 7 ~ A citizen ofthe US is a vessel by legal definition This is where the Extra
'l`erritorial jurisdiction ofthe US. Adding on “Benedict on Admiralty" _ Changing the face of
America, vol. 1, section 23, page 137 states that the Savings Clause of the Judiciary Act ofthe Judicial
Code (that is where you find Title 28` section 1333). The federal district courts will have original
jurisdiction ofall claims in Admiralty Maritime Law, Savings to Suiters. and remedy in Common Law
where Common Law is provided for. Therefore, you can take an Admiralty Maritime Claim and
adjudicate it in a state court ifthe Common Law gives you a remedy. The problem is that now, this was
back in 1789. and you do not have any Common Law anymore. They have reversed everything, and now
you have to go through Admiralty to get to your Common Law. lf you get out of the system, you can use
the Common 1,,aw; You can do a Replevin. Get “Common Law Pleadings" by Joseph H. Koffler.

29. ProofofClaim: That under Title 26§ 1040
(a) General rule...lfthe executor ofthe estate of any decedent transfers to a qualified heir (within the
meaning of 2032A (e)( 1 )) any property with respect to which an election was made under section 2032A

30. Proof of C|aim: That Proof of C|aim: That you have a verified complaint sworn or affirmed under
penalty of perjury by one of the people

31. ProofofClaim: That the Judge has an Oath of Ofiice in accordance with [Title 5 USC § 3331]

32. Proof of Claim: That Officer Affidavit in accordance with [Title 5 USC § 3332] and/or Employcc
[WRl'l` OF E R CORAM NOBlS DEMAND FOR DlSMlSSAL] - 4

 

 

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Affidavit in accordance [Title 5 USC § 3333]

33. Proof of C|aim: That the Claimant is not rewarded recoupment under UCC article 3 section 305 and
306

34. Proof`ofClaim: That their is a Surety Bond in accordance with [Title 5 USC § 2901]

35. Proof of Claim: That the court has subject matterjurisdiction and there is sworn factual testimony in
accordance to Federal Rules of Civil Procedure rule 12 b(2)

36. Proof ofClaim: That

l’roof of Claim of any lawful law that proves that a non-corporation living man upon the law, has to pay
any court a tax or fine.

Proof of Claim that the supreme courts in each State were actually following a state and federal real law,
that permitted the fellow Bar members of the supreme courts, to allow fellow Bar members in each state
and federal government, as part of the judicial branch of government in each state and federal government
courts.

37. Proof of C|aim: That you asjudge are above the Supreme Court’s rulings and that you are above the
law of this land.

38. Proof of Claim: That the Constitution is not the Supreme Law ofthis land and/ or in this or any court
and that you do not have to adhere to your oath ofoffice to uphold said oath and constitution

39. Proof of C|aim: That you can prove the "LAW” you asked for, that would supply the proof of why
you should not have dismissed all my affidavits, and all documents.

40. Proof of Claim: Of why my affidavits of “denia| of corporate existence" was not allowed under the
FSlA.

41. Proof of`C aim: That the court upon challenge will/does not have to rebut or disprove the fact -- that i
am not a corpciation.

42. Proof of ` aim: That affidavits and statements of facts are not proof of anything and will not be
allowed to be 'esented at trial as per your judgment

43. Proof of Cl iim: That sworn affidavits and statements of facts will/can not be admissible as evidence,
when the evidc ce within the affidavits, will clearly prove the claims of the defendant

44. Proof ofC c im: That verified complaints are admissible as evidence and sworn affidavits are not.

45. Proof of C|aim: That an unrebutted affidavit’s by plaintiffs has standing and will be completely
ignored in your any court.

46. Proof`ofC z im: That an article five court is a civil court of record, which was passed by congress.

47. Proof of C aim: That contract fraud, does not violate a contract and does not makes it null and void.

. v [WRlT ()F ERR()R CORAM NOBlS DEMAND FOR DlSMlSSAL] - 5

 

 

 

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48. ProofofC aim: That under the common law and the U.C.C. §1-308 & U.C.C. §1-103.6, i did not have
the right to reserve my rights and to demand my money back and file a lien to secure moneys defrauded

from me.

49. Proofof`C
to met his nevl

aim: That you have not allowed Esquire M. L. Ebert _lr.. to amend with out full disclosure
verified complaint in order for you both to refuse and deny my constitutional rights and

liberties to ajurty trial.

50. Proof of Claim: That M. L. Ebert Jr. did not file asking for high punitive damages and fines in the
original verificc complaint, giving me the right to ajury trial.

51.Proof`ofCllim: That based upon your actions against my constitutional rights and liberties that you are
not in violation of your oath of office.

52. ProofofC
stating that vel
be allowed in j

53. Proofof C

itim: That based upon your actions, you were not an advocate of the Plaintif`fs’ esquire, by
tied complaints are admissible as evidence and that my sworn affidavits are not and won’t
)ur court.

laim: That based upon your actions, that any observer could see that a fair and impartial

trial was not p )ssible in this 9"‘ circuit court.

54. Proof of Cl
you.

55. Proof of C
rights and libe

56. Proof` of C

lim: That that the affidavit of “notice of fraud upon the court” was nonsense, as stated by

aim: of why you should not be disqualified because of your numerous violations of my
ties.

laim: Of any LAW passed by congress that can deny me, thc right to hire my own court

stenographer ii aj ury trial or at any and all trials.

See Dicke)'son

Affidavit pursuant 10 29,United States Code, Title 1746 ~
. l/Vainwrig/it. 626 F.2d Title 1184, held affidavit sworn true and correct under penalty of perjury

 

has full force of

law and does not have to be verified by Notary Public to have same el`fect.

Under penalty olf perjury i declare that the foregoing facts within this document/verified complaint/affidavit are true,
correct and complete to the best of my knowledge

MM__"

rashaan-mechel et ofthe family Elam

without prejudice

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SllAl

111 rights reserved ll.(.`.C. 1-308

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Notary l’ublic 4 (

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_ t .'<EMP. Notary Public
South Middt~aton twp.= Cumberland Coun
My Com;n_js_sjoi‘» Expires Apri| 7, 2021

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